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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address

 WEILAND GOLDEN GOODRICH LLP
 Jeffrey I. Golden, State Bar No. 133040
 jgolden@wgllp.com
 Faye C. Rasch, State Bar No. 253838
 frasch@wgllp.com
 650 Town Center Drive, Suite 950
 Costa Mesa, California 92626
 Telephone 714-966-1000
 Facsimile 714-966-1002




      Individual appearing without attorney
      Attorney for: Chapter 7 Trustee Thomas H. Casey

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION                                       DIVISION

 In re:                                                                       CASE NO.: 8:16-bk-15156-CB
 779 STRADELLA, LLC, a Delaware limited liability
                                                                              CHAPTER: 7
 company,




                                                                                   NOTICE OF SALE OF ESTATE PROPERTY

                                                              Debtor(s).


 Sale Date: 06/05/2018                                                        Time: 2:30 pm

 Location: United States Bankruptcy Court, Courtroom 5D, 411 West Fourth Street, Santa Ana, California 92701

Type of Sale:           Public         Private               Last date to file objections: 05/22/2018

Description of property to be sold: All of the Estate's right, title and interest in the real property commonly known
as 779 Stradella Road, Los Angeles, California.




Terms and conditions of sale: Subject to overbid. Sale is "as is," "where is," "with all faults," and without warranty
 or recourse. Offer must be non-contingent and "all cash" to the Estate (i.e. buyer has immediately available third-party
 funding). Sale is subject to Bankruptcy Court approval. Other terms and conditions apply; see attached notice of hearing
 and the motion which is on file with the Court.


Proposed sale price: See attached notice of hearing and the motion which is on file with the court.
                     _________________________________


           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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Overbid procedure (if any): Bid at least an amount sufficient to satisfy the Secured Creditor's lien or an amount to
which the Secured Creditor consents, plus the Outstanding Real Estate Tax, plus $114,000.00 in cash for the Property.
Overbid increments: $10,000.00. $15,000.00 overbid deposit.

If property is to be sold free and clear of liens or other interests, list date, time and location of hearing:
Sale Date: June 5, 2018, at 2:30 p.m.
Location
United States Bankruptcy Court
Central District of California, Santa Ana Division
411 W. Fourth Street, Courtroom 5D
Santa Ana, CA 92701




Contact person for potential bidders (include name, address, telephone, fax and/or email address):
 Jeffrey I. Golden
 Faye C. Rasch
 WEILAND GOLDEN GOODRICH LLP
 650 Town Center Drive, Suite 950
 Costa Mesa, California 92626
 Telephone: 714-966-1000
 Facsimile: 714-966-1002
 Email: jgolden@wgllp.com; frasch@wgllp.com




Date: 04/13/2018




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                                                                    1 WEILAND GOLDEN GOODRICH LLP
                                                                      Jeffrey I. Golden, State Bar No. 133040
                                                                    2 jgolden@wgllp.com
                                                                      Faye C. Rasch State Bar No. 253838
                                                                    3 frasch@wgllp.com
                                                                      650 Town Center Drive, Suite 950
                                                                    4 Costa Mesa, California 92626
                                                                      Telephone      714-966-1000
                                                                    5 Facsimile      714-966-1002

                                                                    6 Proposed Attorneys for Chapter 7 Trustee
                                                                      Thomas H. Casey
                                                                    7

                                                                    8

                                                                    9                          UNITED STATES BANKRUPTCY COURT
                                                                   10                           CENTRAL DISTRICT OF CALIFORNIA
                                                                   11                                    SANTA ANA DIVISION
Weiland Golden Goodrich LLP




                                                                   12 In re                                      Case No. 8:16-bk-15156-CB
                                                Fax 714-966-1002
                                650 Town Center Drive, Suite 950
                                  Costa Mesa, California 92626




                                                                   13 779 STRADELLA, LLC, a Delaware limited     Chapter 7
                                                                      liability company,
                                                                   14                                            NOTICE OF HEARING ON CHAPTER 7
                                                                                             Debtor.             TRUSTEE’S MOTION FOR ORDER:
                              Tel 714-966-1000




                                                                   15
                                                                                                                 (1)         AUTHORIZING SALE OF REAL
                                                                   16                                                        PROPERTY FREE AND CLEAR
                                                                                                                             OF ALL LIENS PURSUANT TO
                                                                   17                                                        11 U.S.C. §§ 363(b) AND (f);
                                                                                                                 (2)         APPROVING OVERBID
                                                                   18                                                        PROCEDURES;
                                                                                                                 (3)         APPROVING BUYER,
                                                                   19                                                        SUCCESSFUL BIDDER, AND
                                                                                                                             BACK-UP BIDDER AS GOOD-
                                                                   20                                                        FAITH PURCHASER PURSUANT
                                                                                                                             TO 11 U.S.C. § 363(m); AND
                                                                   21                                            (4)         AUTHORIZING PAYMENT OF
                                                                                                                             UNDISPUTED LIENS AND
                                                                   22                                                        OTHER ORDINARY COSTS OF
                                                                                                                             SALE
                                                                   23
                                                                                                                 [779 Stradella Road, Los Angeles, CA]
                                                                   24
                                                                                                                 DATE: June 5, 2018
                                                                   25                                            TIME: 2:30 p.m.
                                                                                                                 CTRM: 5D
                                                                   26                                                  411 West Fourth Street
                                                                                                                       Santa Ana, California 92701
                                                                   27

                                                                   28
                                                                        1163786.1                                1                        NOTICE OF HEARING
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                                                                    1 TO THE DEBTOR, CREDITORS, OFFICE OF THE UNITED STATES TRUSTEE AND
                                                                      ALL PARTIES IN INTEREST:
                                                                    2
                                                                              PLEASE TAKE NOTICE that on June 5, 2018, at 2:30 p.m. in courtroom 5D of the
                                                                    3 United States Bankruptcy Court for the Central District of California, Santa Ana Division, located
                                                                      at 411 W. Fourth Street, Santa Ana, California, the Court will hold a hearing on the Motion for
                                                                    4 Order: (1) Authorizing Sale of Real Property Free and Clear of all Liens Pursuant to 11 U.S.C.
                                                                      §§ 363(b) and (f); (2) Approving Overbid Procedures; (3) Approving Buyer, Successful Bidder,
                                                                    5 and Back-up Bidder as Good-Faith Purchaser Pursuant to 11 U.S.C. § 363(m); and
                                                                      (4) Authorizing Payment of Undisputed Liens and Other Ordinary Costs of Sale (the "Motion")1
                                                                    6 filed by Thomas H. Casey, the chapter 7 trustee (the "Trustee") for the bankruptcy estate (the
                                                                      "Estate") of 779 Stradella, LLC (the "Debtor"), which seeks an order:
                                                                    7
                                                                              1.       approving the Purchase and Sale Agreement (the “Sale Agreement”) and the sale of
                                                                    8 the real property commonly known as 779 Stradella Road, Los Angeles, California (the "Property")
                                                                      “as is,” “where is,” “with all faults,” and without warranty or recourse, but free and clear of any
                                                                    9 and all liens, claims, and interests, except as set forth herein, together with all improvements, as
                                                                      well as all easements and appurtenances pursuant to 11 U.S.C. §§ 363(b) and (f), to:
                                                                   10
                                                                                       a.     Genesis Capital Master Fund II, LLC (the "Secured Creditor” or the
                                                                   11         “Buyer"), whose address is c/o Jeffrey W. Dulberg, Pachulski Stang Ziehl & Jones LLP,
                                                                              10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067-4003, for: (i) the total
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                                                                   12
                                                Fax 714-966-1002




                                                                              purchase price of $104,000.00 in readily available funds (the “Cash Amount”); plus (ii) a
                                650 Town Center Drive, Suite 950




                                                                              credit bid by the Secured Creditor in the Secured Creditor’s sole discretion, in accordance
                                  Costa Mesa, California 92626




                                                                   13         with 11 U.S.C. § 363(k) (the “Purchase Price”), with the cash portion of the Purchase Price
                                                                              to be made by wire transfer for the benefit of the Estate; or
                                                                   14
                                                                                       b.     to the successful bidder whose purchase offer for the Property is accepted by
                              Tel 714-966-1000




                                                                   15         the Trustee at the hearing on the Motion.
                                                                   16                      c.      the Secured Creditor shall pay all Outstanding Real Estate Tax as
                                                                                   specifically set forth in the Sale Agreement; and
                                                                   17
                                                                                          d.      the Secured Creditor shall receive an allowed claim in the amount set forth
                                                                   18              on a declaration submitted by the Secured Creditor.
                                                                   19              2.       approving the overbid procedures set forth in the Motion as summarized below;
                                                                   20          3.     approving the Buyer, the successful bidder, and the back-up bidder as a "good faith"
                                                                        purchaser under § 363(m) of the Bankruptcy Code;
                                                                   21
                                                                              4.      attaching to the net sales proceeds in the same value, priority and scope as such liens
                                                                   22 currently exist against the Property, subject to any and all of the Trustee’s rights to object to,
                                                                      dispute, or subordinate such liens, the Manafort Lien, the Vantage Lien and the Speedy Lien,
                                                                   23 which are disputed and which shall not, at this time, be paid;

                                                                   24          5.       reserving to the Trustee all rights to object to the validity, scope and priority of all
                                                                        disputed liens, claims and interests;
                                                                   25

                                                                   26

                                                                   27       1
                                                                                All terms not specifically defined herein shall have the meaning provided in the Motion.

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                                                                    1           6.     authorizing the Trustee to take any and all necessary actions to consummate the sale
                                                                        of the Property;
                                                                    2
                                                                             7.      authorizing the Trustee to pay, through escrow, from the proceeds of the sale of the
                                                                    3 Property and without further order of the Court any escrow fees, title insurance premiums and other
                                                                      ordinary and typical closing costs and expenses payable by the Trustee pursuant to the Sale
                                                                    4 Agreement or in accordance with local custom;

                                                                    5         8.     waiving any requirements for lodging periods of the order approving the Motion
                                                                        imposed by Local Bankruptcy Rule 9021-1 and any other applicable bankruptcy rules; and
                                                                    6
                                                                            9.     waiving the stay of the order approving the Motion imposed by Federal Rule of
                                                                    7 Bankruptcy Procedure 6004(h) and any other applicable bankruptcy rules.

                                                                    8           It is anticipated that there will be no tax liability to the Estate from the Sale.

                                                                    9          The gross proceeds of the Sale prior to subtracting costs of sale will be approximately
                                                                        $104,000.00.
                                                                   10
                                                                              PLEASE TAKE FURTHER NOTICE that the Trustee seeks to sell the Property free and
                                                                   11 clear of any and all liens, claims, and interests. The Property is encumbered by (i) a first priority
                                                                      deed of trust held by the Secured Creditor that secures a debt of no less than $7.96 million, (ii) a
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                                                                   12 second priority deed of trust held by Paul Manafort that secures an alleged debt of approximately
                                                Fax 714-966-1002
                                650 Town Center Drive, Suite 950




                                                                      $2.7 million (the “Manafort Lien”), (iii) property tax liens held by the Los Angeles County Tax
                                  Costa Mesa, California 92626




                                                                   13 Collector that secure tax obligations of approximately $200,000, (iv) a lien in favor of Vantage
                                                                      Design Group, Inc. in the amount of $63,352.43 (the “Vantage Lien”), and (v) a lien in favor of Mr.
                                                                   14 Speedy Plumbing & Rooter, Inc., in the amount of $15,500 (the “Speedy Lien”).
                              Tel 714-966-1000




                                                                   15         The Manafort Lien and the Vantage Lien are each disputed as preferential transfers. The
                                                                      Manafort Lien was recorded just days before the Petition Date on December 19, 2016. Similarly,
                                                                   16 the Vantage Lien was recorded on December 15, 2016. The Speedy Lien, recorded after the
                                                                      Petition Date on November 22, 2017, is disputed as an authorized post-petition transfer as well as
                                                                   17 violative of the automatic stay.

                                                                   18            The Trustee reserves the right to object to the validity, scope and priority of all disputed
                                                                        liens, claims and interests.
                                                                   19
                                                                              PLEASE TAKE FURTHER NOTICE that all overbids must be in writing and must
                                                                   20 be submitted to the Trustee’s counsel whose address is listed in the top left hand corner of the
                                                                      first page of the instant Notice, at or before the hearing on the Motion currently set for
                                                                   21 June 5, 2018, at 2:30 p.m.

                                                                   22          PLEASE TAKE FURTHER NOTICE that the overbid procedures sought to be approved
                                                                        by the Court are as follows:
                                                                   23
                                                                                1.      Qualifying bidders ("Qualifying Bidder") shall:
                                                                   24
                                                                                               a.      Bid at least an amount sufficient to satisfy the Secured Creditor’s lien
                                                                   25                   or an amount to which the Secured Creditor consents, plus the Outstanding Real
                                                                                        Estate Tax, plus $114,000 in cash for the Property;
                                                                   26
                                                                                                b.      Set forth in writing the terms and conditions of the offer that are at
                                                                   27                   least as favorable to the Trustee as those set forth in the Sale Agreement attached to
                                                                                        the Motion as Exhibit "A";
                                                                   28
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                                                                    1                        c.     Be financially qualified, in the Trustee's exercise of his sound
                                                                                      business judgment, to close the sale as set forth in the Sale Agreement attached to
                                                                    2                 the Motion as Exhibit “A”;

                                                                    3                         d.      Submit an offer that does not contain any contingencies to closing the
                                                                                      sale, including, but not limited to, financing, inspection, or repair contingencies;
                                                                    4
                                                                                              e.     Submit a cash deposit for the Property in the amount of $15,000.00
                                                                    5                 (the "Overbid Deposit") payable to Thomas H. Casey, Chapter 7 Trustee for the
                                                                                      Bankruptcy Estate of 779 Stradella, LLC, in the form of a cashier's check, which
                                                                    6                 Overbid Deposit shall be non-refundable if the bid is deemed to be the Successful
                                                                                      Bid, as defined in paragraph 4 below. The Overbid Deposit, written offer, and
                                                                    7                 evidence of financial qualification must be delivered to the Trustee’s counsel (at the
                                                                                      address shown in the upper left hand corner of the first page of this Notice), at or
                                                                    8                 before the hearing on the Motion current set for June 5, 2018, at 2:30 p.m.

                                                                    9          2.     At the hearing on the Motion, only the Buyer and any party who is deemed a
                                                                        Qualifying Bidder shall be entitled to bid.
                                                                   10
                                                                              3.     Any incremental bid in the bidding process shall be at least $10,000.00 higher than
                                                                   11 the prior bid.
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                                                                   12         4.      At the hearing on the Motion and upon conclusion of the bidding process, the
                                                Fax 714-966-1002
                                650 Town Center Drive, Suite 950




                                                                      Trustee shall decide, subject to Court approval, which of the bids is the best bid, and such bid shall
                                  Costa Mesa, California 92626




                                                                   13 be deemed to be the "Successful Bid." The bidder who is accepted by the Trustee as the successful
                                                                      bidder (the "Successful Bidder") must pay all amounts reflected in the Successful Bid in cash at the
                                                                   14 closing of the sale. At the hearing on the Motion, and upon conclusion of the bidding process, the
                                                                      Trustee may also acknowledge a back-up bidder (the "Back-Up Bidder") which shall be the bidder
                              Tel 714-966-1000




                                                                   15 with the next best bid. Should the Successful Bidder fail to close escrow on the sale of the
                                                                      Property, the Trustee may sell the Property to the Back-Up Bidder without further Court order.
                                                                   16
                                                                              5.      Overbids shall be all cash and no credit shall be given to the purchaser or
                                                                   17 overbidder(s).

                                                                   18          The Motion is based upon the Memorandum of Points and Authorities, the Declaration of
                                                                      Thomas H. Casey and the Exhibit attached to the Motion, all pleadings, papers and records on file
                                                                   19 with the Court, and on such other evidence, oral or documentary, as may be presented to the Court
                                                                      at the time of the hearing on the Motion.
                                                                   20
                                                                               Your Rights May Be Affected. You should read these papers carefully and discuss them
                                                                   21 with your attorney, if you have one. (If you do not have an attorney, you may wish to consult one.)

                                                                   22        Deadline for Opposition Papers. The Motion is being heard on regular notice pursuant to
                                                                      LBR 9013-1. If you wish to oppose the Motion, you must file a written response with the Court
                                                                   23 and serve a copy of it upon the Movant or Movant’s attorney at the address set forth above no less
                                                                      than 14 days prior to the above hearing date. If you fail to file a written response to the Motion
                                                                   24 within such time period, the Court may treat such failure as a waiver of your right to oppose the
                                                                      Motion and may grant the requested relief.
                                                                   25
                                                                             Hearing Date Obtained Pursuant to Judge’s Self-Calendaring Procedure. The
                                                                   26 undersigned hereby verifies that the above hearing date and time were available for this type of
                                                                      Motion according to the judge’s self-calendaring procedures.
                                                                   27
                                                                             PLEASE TAKE FURTHER NOTICE that any party requesting a copy of the Motion or
                                                                   28 any supporting documents filed with the Court with respect to the Motion may contact counsel for
                                                                        1163786.1                                        4                            NOTICE OF HEARING
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                                                                    1 the Trustee, Jeffrey I. Golden, Weiland Golden Goodrich LLP by email at jgolden@wgllp.com, by
                                                                      mail at 650 Town Center Drive, Suite 950, Costa Mesa, California 92626, or by telephone at (714)
                                                                    2 966-1000.

                                                                    3 Dated: April 13, 2018                       WEILAND GOLDEN GOODRICH LLP

                                                                    4
                                                                                                                  By: /s/ Faye C. Rasch
                                                                    5                                                 JEFFREY I. GOLDEN
                                                                                                                      FAYE C. RASCH
                                                                    6                                                 Proposed Counsel for Chapter 7 Trustee
                                                                                                                      Thomas H. Casey
                                                                    7

                                                                    8

                                                                    9

                                                                   10

                                                                   11
Weiland Golden Goodrich LLP




                                                                   12
                                                Fax 714-966-1002
                                650 Town Center Drive, Suite 950
                                  Costa Mesa, California 92626




                                                                   13

                                                                   14
                              Tel 714-966-1000




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                                   650 Town Center Drive, Suite 950
                                                     Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify): Notice of Hearing on Chapter 7 Trustee’s Motion for Order: (1)
Authorizing Sale of Real Property Free and Clear of all Liens Pursuant to 11 U.S.C. §§ 363(b) and (f); (2) Approving Overbid
Procedures; (3) Approving Buyer, Successful Bidder, and Back-Up Bidder as Goodfaith Purchaser Pursuant to 11 U.S.C. § 363(m);
and (4) Authorizing Payment of Undisputed Liens and Other Ordinary Costs of Sale
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) April 13,
2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are
on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) April 13, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 13, 2018, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by
facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
mail to, the judge will be completed no later than 24 hours after the document is filed.

Served by Personal Delivery
Honorable Catherine E. Bauer
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5165 / Courtroom 5D
Santa Ana, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 4/13/2018                      Victoria Rosales
 Date                           Printed Name                                                    Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
Thomas H Casey (TR) msilva@tomcaseylaw.com, thc@trustesolutions.net
Jeffrey W Dulberg jdulberg@pszjlaw.com
Marc C Forsythe kmurphy@goeforlaw.com, mforsythe@goeforlaw.com;goeforecf@gmail.com
Richard Girgado rgirgado@counsel.lacounty.gov
Jeffrey I Golden jgolden@wgllp.com, kadele@wgllp.com;vrosales@lwgfllp.com;cbmeeker@gmail.com
Michael J Hauser michael.hauser@usdoj.gov
James Andrew Hinds jhinds@jhindslaw.com, mduran@jhindslaw.com
Marc Y Lazo mlazo@whbllp.com
Daren M Schlecter daren@schlecterlaw.com, bgill@schlecterlaw.com
Kambiz J Shabani joseph@shabanipartners.com, kevin@shabanipartners.com
Paul R Shankman pshankman@jhindslaw.com, mduran@jhindslaw.com
Rachel M Sposato rsposato@jhindslaw.com, mduran@jhindslaw.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

SERVED BY UNITED STATES MAIL:
779 Stradella, LLC
A Delaware Limited Liability Company                                              Genesis Capital Master Fund II LLC
3991 MacArthur Blvd., Suite 125                                                   Jeffrey W. Dulberg
Newport Beach, CA 92660-3049                                                      c/o Pachulski Stang Ziehl & Jones LLP
                                                                                  10100 Santa Monica Blvd., 13th Floor
Goe & Forsythe LLP                                                                Los Angeles, CA 90067-4003
18101 Von Karman Ave, Suite 1200
Irvine, CA 92612-7119                                                             Genesis Capital Master Fund II, LLC
                                                                                  Attn Lending Department
Santa Ana Division                                                                21650 Oxnard Street, Suite 1700
411 W. Fourth Street, Suite 2030                                                  Woodland Hills, CA 91367-5058
Santa Ana, CA 92701-4500
                                                                                  Jeffrey Yohai
Baylor Holding LLC                                                                30254 Morning View Drive
779 Stradella                                                                     Malibu, CA 90265-3617
Los Angeles, CA 90077-3307
                                                                                  Los Angeles County
California TD Specialists                                                         Treasurer and Tax Collector
8190 East Kaiser Blvd.                                                            PO Box 54110
Anaheim, CA 92808-2215                                                            Los Angeles, CA 90054-0110

Crest Real Estate, LLC                                                            Mr. Speedy Plumbing and Roofing, Inc.
11150 W. Olympic Blvd., Suite 700                                                 Attn: Alfred J. Marzouk, Owner/President
Los Angeles, CA 90064-1825                                                        3130 E. Olympic Blvd.
                                                                                  Los Angeles, CA 90023-3602
DCM P-8, LLC
c/o Wilson Keadjian Browndorf, LLP                                                PJNottingham, LLC
1900 Main Street, Suite 600                                                       c/o Wilson Keadjian
Irvine, CA 92614-7319                                                             1900 Main Street, Suite 610
                                                                                  Irvine, CA 92614-7319
Feffer Geological Consulting
1990 S. Bundy Dr #400                                                             Parker Resnick
Los Angeles, CA 90025-5245                                                        1927 Pontius Avenue
                                                                                  Los Angeles, CA 90025-5611

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:16-bk-15156-CB                     Doc 185
                                                      184 Filed 04/13/18 Entered 04/13/18 16:34:18
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Paul Manafort
721 Fifth Avenue #43G
New York, NY 10022-2537

Steve Opdahl Surveying
206 Dryden St.
Thousand Oaks, CA 91360-5303

The Tree Resource
PO Box 49314
Los Angeles, CA 90049-0314

United States Trustee (SA)
411 W. Fourth Street, Suite 7160
Santa Ana, CA 92701-4500

Vantage Design Group
Attn: Russ Holthouse, Agent for Service of Process
2634 S. La Cienega Blvd.
Los Angeles, CA 90034-2604

Marc C. Forsythe
18101 Von Karman, Suite 1200
Irvine, CA 92612-7119

Thomas H. Casey (TR)
23342 Avenida Empresa, Suite 200
Rancho Santa Margarita, CA 92688-2148




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                            650 Town Center Drive, Suite 950
                                               Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify):Notice of Sale of Estate Property
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 13, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) April 13, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 13, 2018, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Served by Personal Delivery
Honorable Catherine E. Bauer
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5165 / Courtroom 5D
Santa Ana, CA 92701-4593

                                                                                         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 4/13/2018                   Victoria Rosales
 Date                        Printed Name                                                    Signature
         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


December 2012                                                                                    F 6004-2.NOTICE.SALE
       Case 8:16-bk-15156-CB                   Doc 185 Filed 04/13/18 Entered 04/13/18 16:34:18                                      Desc
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TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
Thomas H Casey (TR) msilva@tomcaseylaw.com, thc@trustesolutions.net
Jeffrey W Dulberg jdulberg@pszjlaw.com
Marc C Forsythe kmurphy@goeforlaw.com, mforsythe@goeforlaw.com;goeforecf@gmail.com
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Kambiz J Shabani joseph@shabanipartners.com, kevin@shabanipartners.com
Paul R Shankman pshankman@jhindslaw.com, mduran@jhindslaw.com
Rachel M Sposato rsposato@jhindslaw.com, mduran@jhindslaw.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov




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December 2012                                                                                    F 6004-2.NOTICE.SALE
